DOCUMENTS UNDER SEAL
                    Case 5:19-cr-00046-BLF Clear
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                                                 Form 92 Filed 02/01/21 Page 1 03
                                                            TOTAL TIME (m ins):
                                                                                of mins
                                                                                   1
M AGISTRATE JUDGE                         DEPUTY CLERK                               REPORTER/FTR
M INUTE ORDER                            Lili M. Harrell                            Zoom webinar      11:30am - 11:33am
MAGISTRATE JUDGE                          DATE                                       NEW CASE         CASE NUMBER
Nathanael Cousins                        February 1, 2021                                           5:19-cr-00046 BLF
                                                     APPEARANCES
DEFENDANT                                 AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.     RET.
Nathanael Cousins                                  N        P       David Plotsky                         APPT.
U.S. ATTORNEY                             INTERPRETER                           FIN. AFFT               COUNSEL APPT'D
Chris Vieira                                                                    SUBMITTED

PROBATION OFFICER             PRETRIAL SERVICES OFFICER             DEF ELIGIBLE FOR               PARTIAL PAYMENT
                                                                    APPT'D COUNSEL                 OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                             TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT              BOND HEARING             IA REV PROB. or          OTHER
                                                                                    or S/R
       DETENTION HRG              ID / REMOV HRG           CHANGE PLEA              PROB. REVOC.             ATTY APPT
                                                                                                             HEARING
                                                    INITIAL APPEARANCE
        ADVISED                  ADVISED                   NAME AS CHARGED            TRUE NAME:
        OF RIGHTS                OF CHARGES                IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON               READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                 SUBSTANCE
                                                        RELEASE
      RELEASED              ISSUED                  AMT OF SECURITY         SPECIAL NOTES               PASSPORT
      ON O/R                APPEARANCE BOND         $                                                   SURRENDERED
                                                                                                        DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED          RELEASED       DETENTION HEARING              REMANDED
      FOR             SERVICES                                                 AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                         FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                      STATUS RE:
2/2/2021 (previously set)        HEARING                  HEARING                   CONSENT                TRIAL SET

AT:                              SUBMIT FINAN.              PRELIMINARY             CHANGE OF              STATUS
                                 AFFIDAVIT                  HEARING                 PLEA
9:00am                                                      _____________
BEFORE HON.                      DETENTION                  ARRAIGNMENT             MOTIONS                JUDGMENT &
                                 HEARING                                                                   SENTENCING
Freeman
       TIME W AIVED              TIME EXCLUDABLE            IDENTITY /              PRETRIAL               PROB/SUP REV.
                                 UNDER 18 § USC             REMOVAL                 CONFERENCE             HEARING
                                 3161                       HEARING
                                                ADDITIONAL PROCEEDINGS
Defendant consents to video proceedings. Attorney Bruce Funk is relieved from representing defendant. Mr. Funk is ordered to
turn over his complete file to Mr. Plotsky, including the documents received from the Federal Public Defender's Office.

                                                                                        DOCUMENT NUMBER:
